Case: 1:17-md-02804-DAP Doc #: 2391-13 Filed: 08/15/19 1 of 8. PageID #: 396103




            PSJ14 Janssen Opp Exh 57 – JAN-MS-03741170
Case: 1:17-md-02804-DAP Doc #: 2391-13 Filed: 08/15/19 2 of 8. PageID #: 396104
Case: 1:17-md-02804-DAP Doc #: 2391-13 Filed: 08/15/19 3 of 8. PageID #: 396105
Case: 1:17-md-02804-DAP Doc #: 2391-13 Filed: 08/15/19 4 of 8. PageID #: 396106
Case: 1:17-md-02804-DAP Doc #: 2391-13 Filed: 08/15/19 5 of 8. PageID #: 396107
Case: 1:17-md-02804-DAP Doc #: 2391-13 Filed: 08/15/19 6 of 8. PageID #: 396108
Case: 1:17-md-02804-DAP Doc #: 2391-13 Filed: 08/15/19 7 of 8. PageID #: 396109
Case: 1:17-md-02804-DAP Doc #: 2391-13 Filed: 08/15/19 8 of 8. PageID #: 396110
